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                   10 Attorneys for Defendants, UNIFYED,
                      LLC and CAMPUSEAI, INC.
                   11
                   12                               UNITED STATES DISTRICT COURT
                   13                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                   14
                   15 MELISSA ROBERTSON, an                               Case No. 2:22-cv-00323
                      individual,
                   16                                                     DECLARATION OF MADONNA L.
                                   Plaintiff,                             DEVLING IN SUPPORT OF
                   17                                                     DEFENDANT UNIFYED, LLC’S
                              vs.                                         NOTICE OF REMOVAL OF CIVIL
                   18                                                     ACTION PURSUANT TO 28 U.S.C.
                      UNIFYED, LLC, an Illinois limited                   § 1441(a) (DIVERSITY
                   19 liability company; CAMPUSEAI, INC.,                 JURISDICTION)
                      an Ohio Corporation; and DOES 1-10
                   20 inclusive,
                                                                          [Filed concurrently with Notice of
                   21                      Defendants.                    Removal of Civil Action; Certification
                                                                          and Notice of Interested Parties;
                   22                                                     Declaration of Anjli Jain and Civil
                                                                          Cover Sheet]
                   23
                   24
                                 I, Madonna L. Devling, declare as follows:
                   25
                                 1.        I am an attorney duly admitted to practice in all of the courts of the
                   26
                        State of California and I am a partner with Lewis Brisbois Bisgaard & Smith LLP,
                   27
                        attorneys of record for Defendants UNIFYED, LLC and CAMPUSEAI, INC.
LEWIS              28
BRISBOIS                4863-4100-1224.1
BISGAARD
& SMITH LLP                  DECLARATION OF MADONNA L. DEVLING IN SUPPORT OF DEFENDANTS UNIFYED, LLC AND
ATTORNEYS AT LAW                         CAMPUSEAI, INC.’S NOTICE OF REMOVAL OF CIVIL ACTION
                   Case 2:22-cv-00323-RGK-JEM Document 2 Filed 01/14/22 Page 2 of 3 Page ID #:5




                     1 (“Defendants”) in this case. The facts set forth herein are of my own personal
                     2 knowledge, and if sworn I could and would competently testify thereto.
                     3            2.        I make this Declaration in support of Unifyed, LLC’s Notice of
                     4 Removal filed concurrently herewith.
                     5            3.        I signed a Notice and Acknowledgement of Receipt of the Summons
                     6 and Complaint, Civil Case Cover Sheet, Civil Case Cover Sheet Addendum and
                     7 Statement of Location, Notice of Case Assignment, First Amended General Order
                     8 and Notice of Case Management Conference for this case on January 14, 2022, a
                     9 copy of which is attached to the Notice of Removal as Exhibit B.
                   10             4.        To my knowledge, the documents attached to the Notice of Removal as
                   11 Exhibits A through H constitute all process, pleadings, and orders served upon
                   12 Defendants in connection with the lawsuit filed by Plaintiff against Defendants in
                   13 the Superior Court of California, County of Los Angeles, Melissa Robertson v.
                   14 UNIFYED, LLC, An Illinois Limited Liability Company and CAMPUSEAI, INC., an
                   15 Ohio Corporation; and DOES 1 - 10, inclusive, Case No. 21STCV37867
                   16 (hereinafter “the state court action”). (See 28 U.S.C. § 1446(a).)
                   17             5.        Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is
                   18 being filed with the clerk of the Superior Court for the County of Los Angeles, and
                   19 written notice is being provided to Plaintiff.
                   20             I declare under penalty of perjury under the laws of the United States of
                   21 America that the foregoing is true and correct and that this declaration was executed
                   22 on January 14, 2022, at Costa Mesa, California.
                   23
                   24                                                    /s/ Madonna L. Devling
                                                                        Madonna L. Devling
                   25
                   26
                   27

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BISGAARD
                         4863-4100-1224.1                               2
& SMITH LLP                   DECLARATION OF MADONNA L. DEVLING IN SUPPORT OF DEFENDANTS UNIFYED, LLC AND
ATTORNEYS AT LAW                          CAMPUSEAI, INC.’S NOTICE OF REMOVAL OF CIVIL ACTION
                   Case 2:22-cv-00323-RGK-JEM Document 2 Filed 01/14/22 Page 3 of 3 Page ID #:6




                     1                        FEDERAL COURT PROOF OF SERVICE
                                                Melissa Robertson v. Unifyed, LLC, et al.
                     2                                  Case No. 21STCV37867
                     3 STATE OF CALIFORNIA, COUNTY OF ORANGE
                     4        At the time of service, I was over 18 years of age and not a party to the action.
                       My business address is 650 Town Center Drive, Suite 1400, Costa Mesa, CA 92626.
                     5 I am employed in the office of a member of the bar of this Court at whose direction
                       the service was made.
                     6
                              On January 14, 2022, I served the following document(s): DECLARATION
                     7 OF  MADONNA       L. DEVLING IN SUPPORT OF DEFENDANT UNIFYED,
                       LLC’S NOTICE OF REMOVAL OF CIVIL ACTION PURSUANT TO 28 U.S.C.
                     8 § 1441(A) (DIVERSITY JURISDICTION)
                     9         I served the documents on the following persons at the following addresses
                         (including fax numbers and e-mail addresses, if applicable):
                   10
                      Matthew B. Perez, Esq.                          Attorneys for Plaintiff, MELISSA
                   11 Devon M. Lyon, Esq.                             ROBERTSON
                      Lyon Legal, P.C.
                   12 2698 Junipero Ave., Suite 201A                  T: (562) 216-7382
                      Signal Hill, CA 90755                           F: (562) 216-7385
                   13
                                                                      m.perez@lyon-legal.com
                   14                                                 d.lyon@lyon-legal.com
                   15             The documents were served by the following means:
                   16            (BY U.S. MAIL) I enclosed the documents in a sealed envelope or package
                                  addressed to the persons at the addresses listed above and I deposited the
                   17             sealed envelope or package with the U.S. Postal Service, with the postage
                                  fully prepaid.
                   18
                                 (BY E-MAIL OR ELECTRONIC TRANSMISSION) Based on a court order
                   19             or an agreement of the parties to accept service by e-mail or electronic
                                  transmission, I caused the documents to be sent to the persons at the e-mail
                   20             addresses listed above. I did not receive, within a reasonable time after the
                                  transmission, any electronic message or other indication that the transmission
                   21             was unsuccessful.
                   22         I declare under penalty of perjury under the laws of the United States of
                         America and the State of California that the foregoing is true and correct.
                   23
                                  Executed on January 14, 2022, at Costa Mesa, California.
                   24
                   25
                   26                                                 Danielle Morgan
                   27

LEWIS              28
BRISBOIS
BISGAARD
                         4863-4100-1224.1                            1
& SMITH LLP                   DECLARATION OF MADONNA L. DEVLING IN SUPPORT OF DEFENDANTS UNIFYED, LLC AND
ATTORNEYS AT LAW                          CAMPUSEAI, INC.’S NOTICE OF REMOVAL OF CIVIL ACTION
